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                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MAINE



  In re:
                                                     Chapter 13
  Charles Pappas,                                    Case No. 18-20179

                               Debtor



     ORDER SCHEDULING TRIAL AND SETTING RELATED DEADLINES

    On March 7, 2019, the Court conducted a pretrial conference on confirmation of the
 debtor’s plan and the objections to confirmation filed by the trustee and Ms. Parris.
 During that conference, the Court established certain deadlines to govern the further
 conduct of pretrial proceedings and set a date for trial in this contested matter. As set
 forth on the record of the pretrial conference, the Court hereby orders that:
    1. The debtor must file an accurate and complete amended Statement of Financial
           Affairs on or before March 14, 2019. If the debtor neglects this deadline in any
           respect, the case will be converted or dismissed without further notice or hearing.
              a. Ms. Parris and the trustee are authorized to conduct an additional
                  deposition of the debtor, with any inquiry limited to the information
                  disclosed on a timely filed amended Statement of Financial Affairs.
              b. With the exception of the amended Statement of Financial Affairs due on
                  March 14, 2019, the debtor may only file further amended or supplemental
                  schedules or statements after notice and a hearing, with leave of Court.
    2. Confirmation of the debtor’s Chapter 13 Plan [Dkt. No. 4] is hereby set for trial
           on June 10, 2019, at 9:30 a.m. at the U.S. Bankruptcy Court at 202 Harlow Street,
           Bangor, Maine. The only legal issues for determination at trial are:
              a. Whether the debtor’s plan “has been proposed in good faith and not by
                  any means forbidden by law” as required by 11 U.S.C. § 1325(a)(3);
              b. Whether the debtor “will be able to make all payments under the plan and
                  to comply with the plan” as required by 11 U.S.C. § 1325(a)(6);
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           c. Whether “the action of the debtor in filing the petition was in good faith”
                as required by 11 U.S.C. § 1325(a)(7); and
           d. Whether the plan meets the requirements of 11 U.S.C. § 1325(b).
    3. No later than June 3, 2019, the parties must file the following documents with the
       Court:
           a. a stipulation of undisputed facts;
           b. a list of each party’s proposed witnesses (except for witnesses who may be
                called solely for impeachment purposes); and
           c. a list of each party’s exhibits (except for exhibits which may be offered for
                impeachment or rebuttal purposes).
       If a party fails to file these witness and exhibit lists in a timely manner and later
       attempts to offer evidence not previously disclosed in accordance with this order,
       the Court may exclude such evidence at trial.
    4. At the beginning of trial, the parties must jointly provide the Court with all
       exhibits that may be admitted in evidence without objection. These exhibits must
       be contained in a binder (or a set of binders). This order does not require that the
       parties agree to the admission of any exhibit or exhibits; it does require the parties
       to make a reasonable, good faith effort to discuss exhibits in advance of the trial.
       Exhibits that are subject to, or that may be subject to, objection must not be
       included in the binder(s). The parties are responsible for providing three identical
       binders or identical sets of binders (two working copies for the Court, and one
       copy for the witnesses which will become part of the record of the proceeding).
       The binder(s) must contain a table of contents that identifies the exhibit by its
       marking (e.g., “Joint Exh. #1”) with a short description of the exhibit (e.g.,
       “Promissory Note dated October 1, 2020”). In addition to these binders or sets of
       binders, the parties are responsible for bringing sufficient copies of all other
       exhibits for the Court, the witness(es), and opposing counsel. These should be
       marked for identification, using a system that clearly identifies each party’s
       intended exhibits.

 Dated: March 8, 2019                                 ______________________________
                                                      Michael A. Fagone
                                                      United States Bankruptcy Judge
                                                      District of Maine
